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16
                                     UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18
19
     LAWYERS’ COMMITTEE FOR                           Case No.
20   CIVIL RIGHTS OF THE SAN
     FRANCSICO BAY AREA,                              COMPLAINT FOR
21                                                    DECLARATORY AND
                        Plaintiff,                    INJUNCTIVE RELIEF
22
                vs.
23
     DEPARTMENT OF HOMELAND
24   SECURITY and UNITED STATES
     IMMIGRATION AND CUSTOMS
25   ENFORCEMENT,
26                      Defendants.
27
28
                                                               COMPLAINT FOR DECLARATORY AND
                                                                              INJUNCTIVE RELIEF
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 1                                           Introduction
 2              1.      This is an action under the Freedom of Information Act (“FOIA”), 5
 3   U.S.C. § 552, seeking disclosure of records held by the United States Immigration
 4   and Customs Enforcement agency (“ICE”), a branch of the Department of Homeland
 5   Security (“DHS”), concerning the treatment of immigration detainees arrested,
 6   apprehended, booked, or detained by ICE and DHS at Golden State Annex ICE
 7   Detention Facility (“GSA”), located at 611 Frontage Road, McFarland, California
 8   92350. Specifically, Plaintiff Lawyers’ Committee For Civil Rights of the San
 9   Francisco Bay Area (“LCCRSF” or “Plaintiff”) has submitted 18 requests seeking
10   records pertaining to, inter alia: (1) current and former detainees’ complaints
11   regarding access to basic necessities at GSA between January 1, 2024 and June 1,
12   2024; (2) events that transpired at GSA between April 8, 2024 and April 16, 2024
13   involving uses of force and GSA staff misconduct against immigration detainees; (3)
14   investigations into the aforementioned events; and (4) GSA’s relevant policies and
15   procedures. Plaintiff seeks declaratory and other appropriate relief with respect to
16   ICE’s unlawful withholding of these records.
17              2.      ICE retains and exercises legal custody over individuals detained at
18   GSA. The GEO Group, Inc. (“GEO”), a private corporation, operates GSA at ICE’s
19   behest in exchange for compensation. As such, any document within GEO’s
20   possession, custody, or control relating to the operation of GSA and detention of
21   noncitizens is plainly within ICE’s control. See, e.g., Ahn v. GEO Group, Inc., 1:22-
22   cv-00586-CDB, ECF 64-1 at 466 (E.D. Cal).
23              3.      Detainees in GSA dormitory A4 have reported that on April 15, 2024,
24   in response to peaceful sit-in protests, dozens of officers in SWAT-like gear burst
25   into their sleeping quarters in the early morning, gassing them with pepper spray,
26   assaulting them, and subsequently stripping them down to their underwear for
27   contraband searches.
28
                                                             COMPLAINT FOR DECLARATORY AND
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                                                                            INJUNCTIVE RELIEF
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 1              4.      The information sought is of significant value to the public. Plaintiff
 2   seeks information that would reveal patterns of misconduct at GSA, including the
 3   provision of basic necessities to immigrant detainees (or lack thereof), retaliatory
 4   uses of force and invasive searches against them. Among other things, the requested
 5   information will inform the public regarding enforcement of the nation’s immigration
 6   and detention laws, including ICE’s practice of contracting with for-profit entities to
 7   administer those laws, and is therefore likely to contribute to an understanding of
 8   government operations and activities.
 9              5.      ICE’s failure to turn over requested records violates the FOIA, and has
10   impeded Plaintiff’s efforts to educate the public regarding the treatment of immigrant
11   detainees by ICE and GEO. On information and belief, the requested information
12   would increase the public’s understanding about how ICE and GEO are treating
13   detainees, human rights violations that occurred at GSA, and about how the public’s
14   tax dollars are being spent. The requested information has the strong potential to
15   significantly contribute to the public’s understanding of government operations and
16   activities.
17              6.      Disclosure of the records sought here is particularly urgent given that
18   ICE currently is considering whether to renew its years-long contracts with GEO for
19   detention at GSA and other GEO facilities, and whether to award GEO additional
20   detention contracts. Members of California’s congressional delegation recently wrote
21   to DHS leadership reiterating concerns about “disturbing conditions and abusive and
22   retaliatory behavior towards detainees” by GEO employees at GSA and another
23   GEO-run ICE detention facility and calling for the agency to end the relevant
24   contracts. 1 GEO should not profit, at taxpayer expense, from a supposed “civil”
25
26   1
      Letter from U.S. Sen. Alex Padilla, et al. to DHS Sec. Mayorkas, dated Oct. 8, 2024, available at
27   https://lofgren.house.gov/sites/evo-subsites/lofgren.house.gov/files/evo-media-
     document/10.8.24%20-%20Letter%20-
28   %20Dangerous%20Conditions%20at%20GEO%20Detention%20Centers.pdf.
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 1   detention operation that is anything but, and ICE should not shroud records
 2   evidencing and underlying GEO’s egregious conduct.
 3                                       Jurisdiction and Venue
 4              7.      This Court has subject matter jurisdiction over this action pursuant to 5
 5   U.S.C. § 552(a)(4)(B), 5 U.S.C. §§ 701-706 and 28 U.S.C. § 1331. This Court has
 6   jurisdiction to grant declaratory and further necessary or proper relief pursuant to 28
 7   U.S.C. §§ 2201-2202 and Federal Rules of Civil Procedure 57 and 65.
 8              8.      Venue in this district is proper under 5 U.S.C. § 552(a)(4)(B) and 28
 9   U.S.C. § 1391(e)(1)(C) in that Plaintiff LCCRSF is headquartered and has an office
10   in San Francisco, California.
11                                             The Parties
12              9.      Plaintiff LCCRSF is a non-profit, non-partisan civil rights organization,
13   based in San Francisco, California. One of the West Coast’s oldest civil rights
14   institutions, LCCRSF is a 501(c)(3) organization that employs about 30 staff
15   members, among them lawyers and media specialists. The organization collaborates
16   with grassroots organizations and community partners to identify and address
17   patterns of abuse and inequality. In 2023 alone, LCCRSF provided 1,800 clients with
18   direct legal services, and engaged in about 30 impact and advocacy matters. One of
19   LCCRSF’s interest areas is the equitable administration of immigration law and
20   policy. In addition to representing individual asylum seekers in their cases, LCCRSF
21   represents individuals in federal habeas corpus petitions to challenge their prolonged
22   incarceration in private immigration detention centers. LCCRSF also pursues
23   litigation and advocacy to hold private immigration contractors accountable for
24   abuses and noncompliance with their standards of care.
25              10.     Defendant DHS is a Department of the Executive Branch of the United
26   States Government and is an agency within the meaning of 5 U.S.C. § 552(f). DHS
27   is responsible for enforcing federal immigration laws. DHS has possession or control
28   over the records sought by LCCRSF.
                                                               COMPLAINT FOR DECLARATORY AND
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 1              11.     Defendant ICE is a component of DHS and is an agency within the
 2   meaning of 5 U.S.C. § 552(f). ICE enforces federal law governing border control,
 3   customs, and immigration to the United States. ICE has possession or control over
 4   the records sought by LCCRSF.
 5                               Plaintiff LCCRSF’s FOIA Request
 6              12.     On June 26, 2024, LCCRSF submitted a FOIA request letter to ICE
 7   (“FOIA Request”) seeking:
 8                      1)   All records related to any and all complaints made
                             by any detained individual housed in GSA Housing
 9                           Unit A44 on any day on or between January 1, 2024
                             to June 1, 2024, about access to basic necessities,
10                           including, but not limited to, toilet paper, water,
                             toothpaste, cleaning equipment, indoor temperature
11                           control, recreation, batteries, and food, for
                             individuals currently in the dorm and on behalf of
12                           individuals in solitary confinement.
13                      2)   All records related to any and all uses of force,
                             physical restraint devices or techniques, impact
14                           weapons, batons, firearms, chemical agents, and
                             oleoresin capsicum spray, planned or executed by
15                           GSA on any day on or between 11:59pm April 8,
                             2024 to 12:01am April 16, 2024.
16
                        3)   All audio and/or video files, including, but not
17                           limited to, handheld camera recordings and closed-
                             circuit television footage, recorded at GSA from
18                           11:59pm April 8, 2024 to 12:01am April 16, 2024,
                             that capture audio or video from the interior of
19                           Housing Unit A4.
20                      4)   All audio and/or video files, including, but not
                             limited to, handheld camera recordings and closed-
21                           circuit television footage, recorded at GSA, from
                             11:59pm April 8, 2024 to 12:01am April 16, 2024,
22                           that capture audio or video from the exterior of
                             Housing Unit A4, including, but not limited to the
23                           surrounding hallways, doors, and windows.
24                      5)   All audio and/or video files including, but not
                             limited to, handheld camera recordings and closed-
25                           circuit television footage, recorded at GSA, from
                             11:59am April 8, 2024 to 12:01am April 16, 2024,
26                           that capture any detained individual who was then-
                             presently assigned to Housing Unit A4 at any time
27                           during the specified date range.
28
                                                             COMPLAINT FOR DECLARATORY AND
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 1                      6)    All relevant policies and procedures for retaining
                              audio and/or video files and records sufficient to
 2                            show compliance/noncompliance therewith.
 3                      7)    All records related to any group demonstration
                              planned and/or carried out by detained individuals
 4                            on April 13, 2024.
 5                      8)    All documents related to any search for contraband,
                              or any other prohibited item, that was planned for or
 6                            actually conducted between 11:59pm April 1, 2024
                              to 12:01am April 16, 2024, including, but not limited
 7                            to:
 8                            a. Any investigations conducted prior to any search
                                 for contraband, and
 9
                              b. Records sufficient to identify the basis or bases
10                               for the search of Housing Unit A4
11                            c. Records sufficient to identify the basis for
                                 searching the body or belongings of any
12                               individuals housed in Housing Unit A4
13                            d. Any communications regarding any planned or
                                 conducted search for contraband.
14
                        9)    Records sufficient to show all equipment utilized to
15                            conduct any search for contraband that was planned
                              for or actually conducted between 11:59am April 14,
16                            2024 to 12:01am April 16, 2024, including but not
                              limited to restraint devices, impact weapons, batons,
17                            oleoresin capsicum spray,5 chemical agents, tactical
                              gear, and personal protection equipment.
18
                        10)   Records sufficient to show the personnel involved in
19                            the planning and/or execution of any search for
                              contraband that was planned for or actually
20                            conducted between 11:59pm April 15, 2024 to
                              12:01am April 16, 2024, including, but not limited
21                            to:
22                            a. The rank, position, or title of the individuals
                                 involved in any phase of a contraband search;
23
                              b. The number of individuals involved in any phase
24                               of a contraband search; and
25                            c. The rank, position, or title of any ICE employee
                                 who received notice of a contraband search at any
26                               stage.
27                      11)   Records sufficient to show GSA’s policies,
                              procedures, and training manuals and presentations
28                            for handling contraband, including, but not limited
                                                               COMPLAINT FOR DECLARATORY AND
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 1                            to, investigation, seizure of contraband, disputed
                              ownership, property defined as contraband, and the
 2                            preservation, inventory, and storage of contraband
                              pending further process.
 3
                        12)   Records sufficient to show GSA’s policies,
 4                            procedures, and training manuals and presentations
                              for conducting searches of detained individuals,
 5                            including, but not limited to, pat downs, strip
                              searches, cavity searches, and visual inspections.
 6
                        13)    Records sufficient to show GSA’s policies,
 7                            procedures, and training manuals and presentations
                              for handling personal property owned by individuals
 8                            detained at the facility.
 9                      14)   All records related to reports of lost or damaged
                              personal property made on or between April 14,
10                            2024 to June 1, 2024, by any individual who was
                              assigned to GSA Housing Unit A4 on any day during
11                            that period, including but not limited to:
12                            a. Forms I-387 Report of Detainees Missing
                                 Property;
13
                              b. Reports, oral or written, of allegations of staff
14                               mishandling of personal property owned by
                                 detained persons; and
15
                              c. Requests, oral or written, for reimbursement of
16                               commissary.
17                      15)   All records related to any incident or allegation of
                              GSA staff misconduct, where such alleged or actual
18                            misconduct occurred on or between April 8, 2024
                              through April 16, 2024, concerning the treatment of
19                            detained individuals, use of force, or compliance
                              with detention standards and/or the provisions of
20                            GSA’s contract with ICE.
21                      16)   Records sufficient to show GSA’s written policies,
                              procedures, and training manuals and presentations
22                            related to lost or damaged personal property
                              belonging to detained individuals, including, but not
23                            limited to, procedures for investigating the
                              whereabouts and ownership of personal property,
24                            determining whether GSA staff was at fault for
                              personal property loss or damage, and for
25                            reimbursing the value of lost or damaged personal
                              property.
26
                        17)   Records sufficient to show GSA’s policies regarding
27                            the use of cellular devices by individuals detained at
                              GSA, including, but not limited to smartphones,
28
                                                               COMPLAINT FOR DECLARATORY AND
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 1                            tablets, pagers, and other communication
                              technology, including but not limited to:
 2
                              a. Rules prohibiting the possession or use of cellular
 3                               devices on GSA’s premises by detained
                                 individuals;
 4
                              b. Procedures for handling cellular           devices
 5                               confiscated from detained individuals.
 6                      18)   All records related to body searches, including, but
                              not limited to, pat searches, strip searches, and any
 7                            other form of visual inspection, of individuals
                              assigned to GSA Housing Unit A4 by GSA
 8                            personnel planned and/or conducted on or between
                              April 13, 2024 to April 16, 2024, including, but not
 9                            limited to:
10                            a. Forms G1025 submitted by GSA to ICE; and
11                            b. Records of investigation conducted by ICE.
12   LCCRSF requested documents ranging in time from January 1, 2024, through the
13   response date. A true and correct copy of LCCRSF’s June 26, 2024, FOIA Request
14   is attached hereto as Exhibit 1.
15              13.     LCCRSF asked ICE for expedited processing because the request
16   involved “[a]n urgency to inform the public about an actual or alleged federal
17   government activity, if made by a person primarily engaged in disseminating
18   information” and “[a] matter of widespread and exceptional media interest in which
19   there exist possible questions about the government’s integrity which affect public
20   confidence.” See Ex. 1 at pp. 4-5 (citing 5 U.S.C. § 552(a)(6)(E) and 6 C.F.R. §
21   5.5(e)(1)).
22              14.     LCCRSF asked that ICE waive all fees associated with its FOIA
23   Request because disclosure of the records is “in the public interest” and “likely to
24   contribute significantly to public understanding of the operations or activities of the
25   government and is not primarily in the commercial interest of the requester.” See Ex.
26   1 at p. 5 (citing 5 U.S.C. § 552(a)(4)(A)(iii) and 6 C.F.R. § 5.11(k)).
27              15.     ICE acknowledged receipt of LCCRSF’s FOIA request on July 9, 2024.
28   In its response, ICE denied LCCRSF’s request for expedited processing and failed to
                                                               COMPLAINT FOR DECLARATORY AND
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 1   address LCCRSF’s request for a fee waiver. A true and correct copy of the ICE July
 2   9, 2024, acknowledgment letter is attached hereto as Exhibit 2.
 3              16.     ICE’s acknowledgment letter stated, “ICE has queried the appropriate
 4   program offices within ICE for responsive records. If any responsive records are
 5   located, they will be reviewed for determination of releasability. Please be assured
 6   that one of the processors in our office will respond to your request as expeditiously
 7   as possible. We appreciate your patience as we proceed with your request.” See Ex.
 8   2.
 9              17.     LCCRSF sent a letter to ICE on July 19, 2024 to identify deficiencies in
10   ICE’s initial July 9 acknowledgement letter, namely that ICE’s July 9 letter only
11   listed six of the 18 requests that LCCRSF made, and that ICE had not responded to
12   LCCRSF’s request for a fee waiver. A true and correct copy of LCCRSF’s July 19,
13   2024 letter is attached hereto as Exhibit 3.
14              18.     ICE replied on July 25, 2024. ICE formally acknowledged receipt of all
15   18 requests, restated ICE’s denial of expedited processing, and granted LCCRSF’s
16   request for a fee waiver. A true and correct copy of ICE’s July 25, 2024 letter is
17   attached hereto as Exhibit 4.
18              19.     On August 30, 2024, LCCRSF appealed ICE’s denial of its request for
19   expedited processing. A true and correct copy of LCCRSF’s August 30, 2024, appeal
20   is attached hereto as Exhibit 5.
21              20.     On September 30, 2024, ICE responded to LCCRSF’s appeal and
22   affirmed its prior decision to deny LCCRSF’s request for expedited processing. A
23   true and correct copy of the ICE letter of September 30, 2024, adjudication of the
24   LCCRSF appeal is attached hereto as Exhibit 6.
25              21.     On November 4, 2024, LCCRSF sent a letter to ICE requesting
26   information about the processing status of the request. In the letter, LCCRSF asked
27   whether “ICE already completed a full search for the records at issue in the Request”
28   and whether there was “a projected timeline for issuing the substantive response and
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 1   producing the requested records.” A true and correct copy of LCCRSF’s November
 2   4, 2024 letter is attached hereto as Exhibit 7.
 3              22.     On November 7, 2024, ICE responded to LCCRSF’s November 4 letter,
 4   stating that “the search for responsive documents is complete and your request is
 5   currently in queue to be processed.” A true and correct copy of ICE’s November 7,
 6   2024 letter is attached hereto as Exhibit 8. Over a month passed, and ICE still had
 7   not informed LCCRSF of its determination of the records’ releasability.
 8              23.     On December 10, 2024, LCCRSF sent a final demand to ICE for a
 9   response to its FOIA request and requested that ICE begin its production of records
10   on or before December 20, 2024. A true and correct copy of LCCRSF’s December
11   10, 2024, letter is attached hereto as Exhibit 9.
12              24.     To date, ICE has not produced any documents responsive to LCCRSF’s
13   FOIA Request, nor has it even provided LCCRSF with a substantive response to the
14   FOIA Request.
15              25.     LCCRSF has exhausted its administrative remedies under 5 U.S.C. §
16   552(a)(6)(C). LCCRSF first submitted its FOIA Request nearly six months ago.
17   Despite LCCRSF’s requests that ICE fulfill its statutory obligation by providing a
18   substantive response and providing the requested documents, ICE has failed to do
19   either.
20              26.     DHS and ICE have violated the applicable statutory time limit for the
21   processing of FOIA requests.
22              27.     DHS and ICE have wrongfully failed to release responsive records to
23   Plaintiff.
24                                          FIRST CLAIM
25                      Violation of Freedom of Information Act, 5 U.S.C. § 552
26                        for Failure to Disclose Responsive Agency Records
27              28.     LCCRSF repeats, alleges, and incorporates by reference the allegations
28   in paragraphs 1-27 as though fully set forth herein.
                                                               COMPLAINT FOR DECLARATORY AND
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 1              29.     Defendants’ unlawful withholding of documents responsive to
 2   LCCRSF’s FOIA Request violates 5 U.S.C. §§ 552(a)(3)(A) and (a)(6)(A), as well
 3   as the regulations promulgated thereunder.
 4              30.     ICE and DHS are obligated under 5 U.S.C. § 552(a)(3) to produce
 5   records responsive to LCCRSF’s FOIA Request.
 6              31.     ICE and DHS were required to respond substantively to LCCRSF’s
 7   FOIA Request within 20 business days under 29 CFR § 2201.6, promulgated under
 8   5 U.S.C. § 552, and no basis exists for ICE’s failure to provide even a substantive
 9   response to Plaintiff’s request. LCCRSF has exhausted its administrative remedies
10   by virtue of Defendants’ failure to respond to the FOIA Request.
11                                         SECOND CLAIM
12                      Violation of Freedom of Information Act, 5 U.S.C. § 552
13                 for Failure to Conduct an Adequate Search of Agency Records
14              32.     LCCRSF repeats, alleges, and incorporates by reference the allegations
15   in paragraphs 1-31 as though fully set forth herein.
16              33.     LCCRSF’s FOIA Request seeks records from January 1, 2024, through
17   the response date. Defendants have failed to produce any responsive records.
18              34.     ICE and DHS are obligated under 5 U.S.C. § 552(a)(3) to conduct a
19   reasonable search for and to produce records responsive to LCCRSF’s FOIA
20   Request. LCCRSF has a legal right to obtain such records, and no legal basis exists
21   for ICE’s and DHS’s failure to conduct a reasonable search for records from June 26,
22   2024, through the present date.
23              35.     Defendants’ failure to conduct a reasonable search for records
24   responsive to LCCRSF’s FOIA Request violates 5 U.S.C. §§ 552(a)(3), and
25   (a)(6)(A), as well as the regulations promulgated thereunder.
26
27
28
                                                               COMPLAINT FOR DECLARATORY AND
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 1                                          THIRD CLAIM
 2                          Violation of the Administrative Procedure Act
 3                  for Failure to Timely Respond to Request for Agency Records
 4              36.     LCCRSF repeats, alleges, and incorporates by reference the allegations
 5   in paragraphs 1-35 as though fully set forth herein.
 6              37.     Defendants’ failure to timely respond to LCCRSF’s FOIA Request for
 7   agency records constitutes agency action unlawfully withheld and unreasonably
 8   delayed in violation of the Administrative Procedure Act, 5 U.S.C. §§ 701-06.
 9   Defendants’ failure to timely respond is arbitrary, capricious, and an abuse of
10   discretion, not in accordance with law and without observance of procedure required
11   by law, all in violation of the Administrative Procedure Act.
12                                     PRAYER FOR RELIEF
13              WHEREFORE, LCCRSF requests that judgment be entered in its favor and
14   against Defendants DHS and ICE. LCCRSF further requests that the Court:
15               (a)    Declare unlawful Defendants’ refusal to disclose the records requested
16    by LCCRSF;
17               (b)    Declare that Defendants’ failure to make a determination with respect
18    to LCCRSF’s FOIA Request within the statutory time limit and Defendants’ failure
19    to disclose responsive records violates the FOIA;
20               (c)    Declare that Defendants’ failure to timely respond to LCCRSF’s
21    request for agency records violates the Administrative Procedure Act;
22               (d)    Order Defendants and any of Defendants’ departments, components,
23    other organizational structures, agents, or other persons acting by, through, for, or
24    on behalf of Defendants to conduct a full, adequate, and expeditious search for
25    records responsive to LCCRSF’s FOIA request;
26               (e)    Enjoin Defendants, and any of their departments, components, other
27    organizational structures, agents, or other persons acting by, through, for, or on
28
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 1    behalf of Defendants from withholding non-exempt records responsive to Plaintiff’s
 2    FOIA request and order them to promptly produce the same without redaction;
 3               (f)    Award LCCRSF its reasonable attorneys’ fees and costs pursuant to 5
 4    U.S.C. § 552(a)(4)(E) and 28 U.S.C. § 2412; and
 5               (g)    Grant all other such relief to LCCRSF as the Court deems just and
 6    equitable.
 7
     Dated: December 23, 2024                         Respectfully submitted,
 8
                                                      NIXON PEABODY LLP
 9
10                                                    By: /s/ Matthew A. Richards
                                                         Matthew A. Richards
11                                                       Brock J. Seraphin
                                                         Attorneys for Plaintiff
12
13
     Dated: December 23, 2024                         LAWYERS’ COMMITTEE FOR
14                                                    CIVIL RIGHTS OF THE SAN
                                                      FRANCISCO BAY AREA
15
16                                                    By: /s/ Jordan Wells
17                                                       Jordan Wells
                                                         Victoria Petty
18                                                       Attorneys for Plaintiff

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                                                              COMPLAINT FOR DECLARATORY AND
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                                                                             INJUNCTIVE RELIEF
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